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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )                       CRIMINAL ACTION
                                            )                       No. 09-20005-25-KHV
v.                                          )
                                            )                       CIVIL ACTION
CARLOS DOZAL-ALVAREZ,                       )                       No. 10-2674-KHV
                                            )
                         Defendant.         )
____________________________________________)

                                MEMORANDUM AND ORDER

       This matter is before the Court on defendant’s Motion Under 28 U.S.C. § 2255 To Vacate,

Set Aside, Or Correct Sentence By A Person In Federal Custody (Doc. #951) filed December 13,

2010. In the interest of justice, the Court directs the parties to file briefs which are limited to the

issue of potential procedural bars to defendant’s motion. See United States v. Allen, 16 F.3d 377,

378-79 (10th Cir. 1994) (court may raise and enforce procedural bar sua sponte if doing so furthers

interests of judicial efficiency, conservation of scarce judicial resources and orderly and prompt

administration of justice). In particular, defendant’s claims appear to be barred because in the plea

agreement, he waived his right to file collateral challenges.1 See United States v. Chavez-Salais, 337

F.3d 1170, 1172 (10th Cir. 2003). A court may raise procedural bars sua sponte but must afford the

movant an opportunity to respond to the defenses. See United States v. Warner, 23 F.3d 287, 291

(10th Cir. 1994); see also United States v. DeClerck, 252 Fed. Appx. 220, 224 (10th Cir. 2007)

(district courts “permitted, but not obliged” to review, sua sponte, whether Section 2255 motion



       1
               Except as limited by United States v. Cockerham, 237 F.3d 1179, 1187 (10th Cir.
2001), the plea agreement waived any right to collaterally attack any matter in connection with
defendant’s prosecution, conviction or sentence. See Non-Cooperation Plea Agreement ¶ 10 (Doc.
#607) filed January 29, 2010.
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timely filed); United States v. Barajas-Diaz, 313 F.3d 1242, 1247 (10th Cir. 2002) (court may raise

procedural bar sua sponte where transcendent interests served by that defense warrant it).

       IT IS THEREFORE ORDERED that on or before February 22, 2011, the government

shall file a brief which is limited to the issue of potential procedural bars to defendant’s

Motion Under 28 U.S.C. § 2255 To Vacate, Set Aside, Or Correct Sentence By A Person In

Federal Custody (Doc. #951) filed December 13, 2010. On or before March 25, 2011,

defendant may file a response brief which is limited to the issue of potential procedural bars

to his motion.

       Dated this 7th day of February, 2011 at Kansas City, Kansas.

                                             s/ Kathryn H. Vratil
                                             KATHRYN H. VRATIL
                                             United States District Judge




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